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                                                                                                               EXHIBIT 4

      M   Jackson

      From:                               Pamg
      Sent:                               Wednesday, October 31, 2018 6:51 PM
      To:                                g      Pamela
      subject                             Fwd: Perliminary Hearing, 36th Distric Court 11/15/2018




      Sent from my iPhone

      Begin forwarded     message:



                Date: October 31, 2018 at 3:09:34 PM EDT
                To:
                Subject: Fwd: Perliminary Hearing, 36th Distric Court 11/15/2018




                Begin forwarded    message:

                       From: Wolff  Law <wolffsmithlawfirm   email.com>
                       Date: October 25, 2018 at 6:18:52 PM MDT
                       To:
                       Subject:   PerliminaryHearing,36th Distric Court          11/15/2018

                       Hello Ms.

                       My name is Alexander Wolff-Smith. I am representing a Mr. Eid in an ongoing
                       small claims court case that has been filed vs You. According to my research, you
                       no longer reside in Michigan. Therefore, this email acts as a friendly reminder and
                       good gesture to alert you of your court date at the 36th District Court in Detroit,
                       MI on 11/15/2018 regarding the small claims case. Failure to appear will result in
                       a default judgment against you, which under Michigan law can be up to $5000.


                       I strongly encourage you to settle this matter out of court with my client. My
                       client's primary goal is not money, but to instead regain total control of his
                       various online and social media accounts that have been breached due to
                       interactions between the two of you and an outside entity that acted as malicious
                       backer (who has since been apprehended). If you wish to settle this out of court,
                       you may contact my client at 248-310-8610. Otherwise, he will see you in court
                       on 11/15/2018.


                       Best Wishes

                       Alexander Wolff Smith
                       43 S. Broadway
                       Lake Orion, M1 48362

                                                                   1




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               email: wollismIthlawärmgDqmall.com

               ConHdentisUly Noir: This o mail is intendedenly forthe personor emity to which it is addressed md racy cantnin
               information that is privitc8ed,confidentiator otherwiseproinctedfrom disclamre. Dissemination,distribution or copying
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               for delivering the message to the Intendedrecipient, is prohibited.




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